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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

RED TREE INVESTMENTS, LLC,
Plaintiff,
Vv.

PETROLEOS DE VENEZUELA, S.A. and
PDVSA PETROLEO, S.A.,

Defendants.

 

 

Case No, 19 Civ. 2519;
Case No. 19 Civ, 2523

Hon. P. Kevin Castel

 

_—? HEROEOSED! JUDGMENT

For the reasons stated in the November 29, 2022 Report and Recommendation of

Magistrate Judge Netburn, adopted as the Order of this Court on February 23, 2023 (Dkt. 186/187):

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that judgment is entered in

favor of Red Tree Investments, LLC, and against Defendants Petréleos de Venezuela, S.A. and

PDVSA Petrdleo, 8.A., jointly and severally, in the following amounts:

 

Attorneys’ Fees

$2,390,387.94

 

Expenses

$55,655.42

 

Total

 

 

 

$2,446,043.36

 

Itis FURTHER ORDERED, ADJUDGED, AND DECREED that, effective the date of this

order, post-judgment interest will accrue at the rate specified in 28 U.S.C. § 1961].

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Dated: ~

   

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New York, | New York Hon. P, Kevin Castel

United States District Judge

 
